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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

Case No. SA CR 16-00100-DOC Date March 16, 2020

Present: The Honorable DAVID O. CARTER, US District Judge
Interpreter N/A

 

 

Kelly Davis CourtSmart Mark Aveis
Deputy Clerk Court Reporter/Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Defendants: Present App. Ret.
John Garbino X X Joshua Robbins X X
Peter Hardin X xX

PROCEEDINGS: _ Sentencing (Not Held; Continued)

 

Case called. Court and counsel confer. U.S. Probation Officer Gregory Vidana also present. The
Sentencing is continued to JUNE 29, 2020, at 7:30 a.m.

 

cc USPO and PTS

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Initials of Deputy Clerk kd

 

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